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14
                                 UNITED STATES DISTRICT COURT
15
                              NORTHERN DISTRICT OF CALIFORNIA
16
                                      SAN FRANCISCO DIVISION
17

18   VICKY MALDONADO AND JUSTIN                      Case No. 3:16-cv-04067-WHO
     CARTER, individually and on behalf of
19   themselves and all others similarly situated,   DEFENDANTS’ SUPPLEMENTAL
                                                     BRIEF IN SUPPORT OF MOTION
20                                                   TO DECERTIFY THE CLASS,
                               Plaintiffs,           PURSUANT TO ECF NO. 298
21
     v.                                              Judge:       William H. Orrick
22                                                   Courtroom:   2, 17th Floor
     APPLE INC., APPLECARE SERVICE
23   COMPANY, INC., AND APPLE CSC INC.,

24
                               Defendants.
25

26

27

28

           DEFENDANTS’ SUPPLEMENTAL BRIEF ISO MOTION TO DECERTIFY THE CLASS
                               Case No. 3:16-cv-04067-WHO
1    I.     THE NAMED PLAINTIFFS LACK STANDING TO BRING CLAIMS UNDER
            CALIFORNIA’S UNFAIR COMPETITION LAW AND SONG-BEVERLY ACT.
2

3           Numerous courts, including this one, have held that plaintiffs lack standing to bring state

4    law claims from a state where they do not reside when their transactions occurred outside of that

5    state. In Johnson v. Nissan North America, Inc., this Court concluded that the “named plaintiffs

6    do not have standing to maintain a nationwide class action” where they did not “possess individual

7    standing to assert each state law’s claims.” 272 F. Supp. 3d 1168, 1175–76 (N.D. Cal. 2017); see

8    also In re Carrier IQ, Inc., 78 F. Supp. 3d at 1051, 1075, 1107 (N.D. Cal. 2015); Horvath v. LG

9    Elecs. Mobilecomm USA, Inc., 2012 WL 2861160, at *3–4, 8, 10 (S.D. Cal. Feb. 13, 2012); In re

10   Flash Memory Antitrust Litig., 643 F. Supp. 2d 1133, 1164 (N.D. Cal. 2009).

11          This holding applies to Plaintiffs’ California Unfair Competition Law (UCL) and Song-

12   Beverly Act claims because California courts apply a “presumption against extraterritorial

13   application” of California statutes and “presume that the Legislature did not intend a statute to be

14   operative, with respect to occurrences outside the state, . . . unless such intention is clearly

15   expressed or reasonably to be inferred from the language of the act or from its purpose, subject

16   matter or history.” Sullivan v. Oracle Corp., 51 Cal. 4th 1191, 1207 (2011) (internal quotation

17   marks omitted). The presumption against extraterritoriality applies even where the defendant’s

18   decision-making took place in California. Id. at 1208. It “applies to the UCL in full force.” Id. at

19   1207. And Song-Beverly claims arise only for in-state transactions. Davis v. Newmar Corp., 136

20   Cal. App. 4th 275, 278 (2006).1

21          Non-Californians cannot assert claims under the UCL or Song-Beverly Act based on the

22   facts of this case. Neither of the named plaintiffs has standing to bring claims under the UCL or

23   Song-Beverly Act because their transactions had no connection to California. Ms. Maldonado is

24   1
       At the hearing, Plaintiffs argued that the Song-Beverly provision regulating the contents of
     service contracts, Cal. Civ. Code § 1794.4, does not contain language limiting its application to
25   in-state transactions. ECF No. 301 at 20–21. But it also does not provide for extraterritorial
     application, and the Legislature knows how to provide for such relief. Cf. Cal. Bus. & Prof. Code
26   § 17500 (prohibiting dissemination of untrue statements “from this state before the public in any
     state” (emphasis added)). In addition, section 1794.41(a), another service contract provision, does
27   limit its application to service contracts covering “home electronic product[s] purchased for use in
     this state,” and courts refer to surrounding statutory sections to determine their territorial scope.
28   See Cummins, Inc. v. Superior Court, 36 Cal. 4th 478, 486–93 (2005).
                                                      1
           DEFENDANTS’ SUPPLEMENTAL BRIEF ISO MOTION TO DECERTIFY THE CLASS
                               Case No. 3:16-cv-04067-WHO
1    from Texas; Mr. Carter is from Georgia; and both purchased their AppleCare contracts and

2    received their class devices outside California. ECF No. 45, Am. Compl. ¶¶ 8–9, 85–121.

3
     II.     THE CHOICE OF LAW TEST ARTICULATED IN MAZZA GOVERNS
4            PLAINTIFFS’ UCL AND SONG-BEVERLY CLAIMS.

5            Plaintiffs contend that Nedlloyd Lines B.V. v. Superior Court, 3 Cal. 4th 459 (1992),

6    governs the choice-of-law determination for contracts with choice-of-law provisions, rather than

7    the standard governmental interest test set forth in Mazza v. American Honda Motor Co., 666 F.3d

8    581, 589–90 (9th Cir. 2012). But in two recent cases, the Ninth Circuit rejected the application of

9    Nedlloyd’s choice-of-law analysis to claims arising out of state statutory law, even in the presence

10   of contractual choice-of-law provisions. Senne v. Kan. City Royals Baseball Corp.. 934 F.3d 918,

11   933–37, 957 (9th Cir. 2019) (applying separate wage-hour laws for three statewide classes under

12   Mazza based on the locations where the work was performed, over the objection of a dissent citing

13   Nedlloyd and a contractual choice-of-law provision); In re Hyundai & Kia Fuel Econ. Litig., 926

14   F.3d 539, 561 n.5 (9th Cir. 2019) (distinguishing Nedlloyd on the grounds that the claims in

15   Nedlloyd “arose from the contract”).2

16   III.    NATIONWIDE CLASS CERTIFICATION IS INAPPROPRIATE FOR THESE
             CLAIMS BECAUSE STATE CONSUMER PROTECTION LAWS CONFLICT.
17

18           A.     Conflicts Exist Among the States’ Consumer Protection Laws.

19           As Mazza explains, California’s consumer protection laws may only be applied to a

20   nationwide class if “the interests of other states are not found to outweigh California’s interest in

21   having its law applied.” 666 F.3d at 589–90.3 Under California’s governmental interest test, the

22   Court must (1) evaluate whether the states’ relevant laws conflict on relevant issues, (2) determine

23   whether there is a “true conflict” by examining the states’ interests in applying their own laws, and

24   then (3) determine which states’ interest would be more impaired if their policies were

25
     2
26     In re Apple Inc. Device Performance Litigation, 347 F. Supp. 3d 434 (N.D. Cal. 2018), cited by
     Plaintiffs at the hearing for the proposition that Nedlloyd applies, preceded Senne and Hyundai.
27   3
       Plaintiffs bear the threshold burden of showing sufficient contacts between California and each
     class member’s claims. Id. at 590. For purposes of argument, this brief assumes Plaintiffs can make
28   this showing, but Apple reserves the right to contest the sufficiency of Plaintiffs’ showing.
                                                      2
            DEFENDANTS’ SUPPLEMENTAL BRIEF ISO MOTION TO DECERTIFY THE CLASS
                                Case No. 3:16-cv-04067-WHO
1    subordinated. Id. at 590. In cases that are “analogous” to Mazza—i.e., where the statutory

2    provisions invoked and the relation of plaintiffs to California are similar—“Mazza is not only

3    relevant but controlling.” Johnson, 272 F. Supp. 3d at 1175 (Orrick, J.). Here, the Mazza test

4    confirms that a nationwide class is improper with respect to the state consumer protection claims.

5    We outline “true conflicts” among states’ consumer protection laws by providing examples below,

6    which show that nationwide certification is inappropriate. Due to the five-page limit for this brief,

7    Apple is unable to list all of the applicable state laws and all the differences between them. Apple

8    is prepared to submit a short appendix with charts addressing each state’s laws relevant to the

9    claims, if helpful to the Court.

10                   1.      State Unfair Competition / Trade Practices Laws
11            Variations in Scope. In California consumer cases, courts adjudicate allegedly “unfair”

12   conduct under the UCL by applying one of two tests—(1) a “balancing” test weighing harm against

13   utility, or (2) a “tethering” test requiring the claim be “tethered to a constitutional or statutory

14   provision or a regulation carrying out statutory policy.” Ferrington v. McAfee, Inc., 2010 WL

15   3910169, at *11–12 (N.D. Cal. Oct. 5, 2010). By contrast, other states’ consumer protection laws

16   provide causes of action only for enumerated conduct, e.g., Colo. Rev. Stat. § 6-1-105, and some

17   require proof of “egregious or aggravating” conduct, e.g., Champion Pro Consulting Grp. v.

18   Impact Sport Football, LLC, 845 F.3d 104, 109 (4th Cir. 2016) (applying N.C. Gen. Stat. § 75-

19   1.1).

20            Variations in Remedies. The remedies available to Plaintiffs under state competition laws

21   vary widely. A court may award only equitable remedies under the UCL, and the statute does not

22   provide for actual damages or attorneys’ fees. Cal. Bus & Prof. Code § 17203; Am. Online, Inc. v.

23   Superior Court, 90 Cal. App. 4th 1, 15 n.10 (2001). But some states’ laws provide for actual

24   damages, and sometimes punitive damages. E.g., Cover v. Windsor Surry Co., 2016 WL 520991,

25   at *6 (N.D. Cal. Feb. 10, 2016) (Orrick, J.) (describing Rhode Island law). They also may provide

26   for attorneys’ fee awards. E.g., Mason v. Mortg. Am., Inc., 114 Wash. 2d 842, 849 (1990) (“treble

27   damages and attorneys’ fees are recoverable under the Consumer Protection Act”).

28            Variations in Statutes of Limitations. The limitations period for UCL claims is four years,
                                                      3
             DEFENDANTS’ SUPPLEMENTAL BRIEF ISO MOTION TO DECERTIFY THE CLASS
                                 Case No. 3:16-cv-04067-WHO
1    Cal. Bus. & Prof. Code § 17208, while some states provide for shorter or longer periods. E.g., Or.

2    Rev. Stat. § 646.638(6) (one year); Ariz. Rev. Stat. § 12-541(5) (one year); Ga. Code Ann. § 10-

3    1-401(a) (two years); Mo. Rev. Stat. § 516.120(1) (five years); N.J. Stat. Ann. § 2A:14-1 (six

4    years).

5                     2.      State Laws Analogous to the Song-Beverly Act
6              California is largely anomalous in providing a private cause of action for service contract

7    claims. Several states have adopted variants of the Service Contracts Model Act that do not provide

8    private causes of action. E.g., Ala. Code § 8-32-1 et seq.; Ariz Stat. § 20-1095 et seq.; Wyo. Stat.

9    § 26-49-101 et seq. Other states deviate from that approach, and have regulations that cover a

10   discrete universe of service contracts, such as those for motor vehicles. E.g., Ga. Code § 33-34A-

11   3(c); Wis. Code § 616.71 et seq. California courts have also explained that the Song-Beverly Act

12   “does not parallel the Commercial Code,” which many states (including California) have adopted;

13   rather, “it provides different and more extensive consumer protections.” See Jiagbogu v.

14   Mercedes-Benz USA, 118 Cal. App. 4th 1235, 1240 (2004). Likely for these reasons, Plaintiffs

15   have not identified a single case certifying a nationwide class for a Song-Beverly service contract

16   claim, and Apple is unaware of any such case.

17             B.     Other States’ Interests Would Be Impaired if California Law Were Applied.
18             Applying California’s consumer protection laws nationwide would impair other states’

19   interests in governing transactions within their borders. Mazza, 666 F.3d at 593–94. The “place of

20   the wrong” is the “state where the last event necessary to make the actor liable occurred.” Id. at

21   593. Under Plaintiffs’ theory of liability, the “wrong” occurred where Plaintiffs purchased their

22   AppleCare contracts and/or received their class devices. ECF No. 45, Compl. ¶¶ 164–168, 196–

23   199. California’s interest in applying its law to residents in foreign states for foreign transactions

24   is “attenuated” and must give way to those states’ “strong interest” in applying their own laws.

25   Mazza, 666 F.3d at 594. This is true regardless of whether those states have decided to adopt policy

26   regimes that are more or less friendly to consumers than California’s, because it is the

27   responsibility of state legislatures and state courts—not federal courts—to balance between

28   protecting consumers and attracting foreign businesses in their respective states. Id. at 591–92.
                                                       4
           DEFENDANTS’ SUPPLEMENTAL BRIEF ISO MOTION TO DECERTIFY THE CLASS
                               Case No. 3:16-cv-04067-WHO
1    IV.    EVEN IF PLAINTIFFS WERE CORRECT THAT NEDLLOYD’S CHOICE-OF-
            LAW TEST APPLIES, NATIONWIDE CLASS CERTIFICATION REMAINS
2           INAPPROPRIATE.

3           Even if the Court were to analyze choice of law under Nedlloyd—as urged by Plaintiffs,

4    despite the holdings of Senne and Hyundai—the result would not change, for two reasons.

5           First, the plain contractual terms in the AppleCare contracts establish that the choice-of-

6    law provisions do not apply to state consumer protection laws. Both AppleCare contracts’ choice-

7    of-law provisions expressly provide that if the laws of the jurisdiction where the contract is

8    purchased are inconsistent with the contract’s terms, “the laws of that jurisdiction will control.”

9    ECF No. 103-2, at 7; ECF No. 103-3, at 8. Both contracts also contain a preamble—“How

10   Consumer Rights Affect this Plan”—which provides that the plan “shall not prejudice” rights

11   granted by applicable consumer law. ECF No. 103-2, at 2; ECF No. 103-3, at 2 . And both contracts

12   contain state-specific provisions, several of which contain express or implied references to other

13   states’ consumer protection laws. ECF No. 103-2, at 7–10; ECF No. 103-3, at 8–11.4

14          Second, even if AppleCare’s choice-of-law provisions were interpreted to extend to the

15   statutory claims at issue, California’s statutes would not apply nationwide under Nedlloyd because

16   doing so would be contrary to the “fundamental policy” of other states, which have a “materially

17   greater interest” in the applications of their laws. 3 Cal. 4th at 465–66. Both state and federal courts

18   have recognized that state consumer protection regimes constitute “fundamental policies.” E.g.,

19   Am. Online, Inc., 90 Cal. App. 4th at 15 (declining to enforce choice-of-law provision because of

20   fundamental policy differences between California and Virginia consumer protection laws);

21   Walter v. Hughes Commc’ns, Inc., 682 F. Supp. 2d 1031, 1042 (N.D. Cal. 2010) (same, because

22   of differences in remedies under Maryland and California law). Other states have a materially

23   greater interest in the application of their laws. See supra Section III.B.

24

25   4
      Plaintiffs’ argument that California law governs their state law claims is based on a selective and
     out-of-context reading of the contracts’ choice-of-law provisions. Opp. 25. But it is “a primary
26   rule of interpretation that contracts must be construed as a whole.” Int’l Brotherhood of Teamsters
     v. NASA Servs., Inc., 957 F.3d 1038, 1042 (9th Cir. 2020); Cal. Civ. Code. § 1641. Device
27   Performance, 347 F. Supp. 3d 434, which Plaintiffs cited at the hearing, does not suggest
     otherwise. The AppleCare agreements and the language cited above were not at issue in that case.
28   Id. at 445.
                                                       5
           DEFENDANTS’ SUPPLEMENTAL BRIEF ISO MOTION TO DECERTIFY THE CLASS
                               Case No. 3:16-cv-04067-WHO
1    Dated: April 21, 2021           PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP

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          DEFENDANTS’ SUPPLEMENTAL BRIEF ISO MOTION TO DECERTIFY THE CLASS
                              Case No. 3:16-cv-04067-WHO
